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   14    Group USA Inc. d/b/a Beijing Gingko Group North America; and
   15    Kyäni, Inc.

   16                      UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
   17
   18    AMERICAN RIVER NUTRITION,              Case No. 8:18-cv-02201-FLA (JDEx)
   19    LLC, a Delaware limited liability
                                                DEFENDANTS’ OPPOSITION TO
         company,                               PLAINTIFF’S MOTION FOR
   20                                           PRESUMPTION OF
                          Plaintiff,            INFRINGEMENT AND BURDEN
   21                                           SHIFTING TO DEFENDANTS
               v.                               UNDER 35 U.S.C. § 295
   22
   23    BEIJING GINGKO GROUP                   Date: May 28, 2021
         BIOLOGICAL TECHNOLOGY CO.,             Time: 1:30 p.m.
   24    LTD., et al.,                          Place: Courtroom 6B
   25                                           Honorable Fernando L. Aenlle-Rocha
                          Defendants.
   26                                           Am. Complaint Filed: Mar. 4, 2019
   27
            REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED
   28                          UNDER SEAL
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   1                                  TABLE OF EXHIBITS
   2    Exhibit Description
   3       1     Defendants’ June 14, 2020 Supplement Responses to Plaintiff’s First Set
   4             of Interrogatories
   5       2     BGG China Batch Records (2017 Production Run Batch Record,
   6             BGG0014900-990)
   7       3     Plaintiff’s October 21, 2019 First Set of Interrogatories to Defendants
   8       4     Plaintiff’s May 28, 2020 Notice of Rule 30(b)(6) Deposition of BGG
   9             China
  10       5     Plaintiff’s September 22, 2020 Notice and Request of In-Person and
  11             Remote Inspection of Defendants’ Manufacturing Plant
  12       6     Excerpts from the Deposition Transcript of Dr. Yanmei Li (Vol. III)
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           10    Supplemental Expert Report of Dr. Sean O’Keefe (served February 14,
  17
                 2021)
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           11    May 3, 2021 Robert Thornburg email to counsel for Defendants Re
  19
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  20
           12    Excerpts from the Deposition Transcript of Dr. Lixin Ding
  21
           13    Excerpts from the Deposition Transcript of Dr. Barrie Tan
  22
           14    Declaration of Dr. Yanmei Li In Support of Defendants’ Opposition to
  23
                 Plaintiff’s Motion for Presumption of Infringement and Burden Shifting
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   1   I.     INTRODUCTION
   2          Since the outset of fact discovery, Defendant Beijing Gingko Group Biological
   3   Technology Co., Ltd. (“BGG China”) has been transparent about the process it uses
   4   to produce annatto tocotrienols. BGG China produced detailed documents describing
   5   this process on June 18, 2019. It served interrogatory responses referring to those
   6   documents and describing the process on November 20, 2019, and again on June 14,
   7   2020. It provided Plaintiff with numerous samples from a variety of points in the
   8   process (twice), and even allowed Plaintiff’s representatives to conduct an in-person
   9   inspection of its manufacturing facility in October 2020 in the midst of a global
  10   pandemic. Further, Defendants made available BGG China’s Chief Scientific Officer,
  11   Dr. Yanmei Li, for three days of deposition questioning regarding (among other
  12   things) BGG China’s accused manufacturing process.
  13          Despite these efforts, Plaintiff American River Nutrition, LLC contends that it
  14   is “unable to confirm the actual manufacturing process used by BGG,” and feigns
  15   confusion by relying on other process documents that Defendants have consistently
  16   stated do not disclose its true process. Mem. at 22.
  17          This is an incredible claim. Using nearly every means of discovery available
  18   under the federal rules, Defendants have provided information about the actual
  19   accused process and, in unmistakable terms, have pointed to the precise process used
  20   to produce annatto tocotrienols. That Plaintiff has inexplicably refused to accept that
  21   evidence is no reason to shift the burden of proving infringement and penalize
  22   Defendants under the seldom-invoked provisions of 35 U.S.C. § 295.
  23          No court has ever applied § 295 in circumstances such as these, where
  24   Defendants have been forthcoming about the accused process through detailed
  25   technical documents, interrogatory responses, production samples, on-site
  26   inspections, and deposition testimony. Any one of these efforts individually is enough
  27   to reject Plaintiff’s bold ask, and these efforts collectively reveal just how dubious
  28   that ask really is.
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   1         Plaintiff’s feigning ignorance about the accused process is further undermined
   2   by its forthcoming motion for summary judgment of infringement.1 It is disingenuous
   3   for Plaintiff, on the one hand, to complain that it is “unable to confirm the actual
   4   manufacturing process used by BGG,” Mem. at 22, while on the other hand, asking
   5   that the Court award it summary judgment that the process infringes.
   6         At bottom, Plaintiff is not at all “unable” to determine what process BGG
   7   uses—it is simply unwilling to accept the substantial evidence Defendants have put
   8   forth about that actual process, which conclusively demonstrates that it does not
   9   infringe Plaintiff’s patent. Defendants consistently identified the process documents
  10   that disclose their actual annatto tocotrienol manufacturing process, and thus
  11   Plaintiff’s insistence on relying on other process diagrams is misguided. In reality,
  12   there is no confusion as to which documents disclose Defendants’ actual process;
  13   Plaintiff just does not like the answer. For these reasons, Defendants Beijing Gingko
  14   Group Biological Technology Co., Ltd.; Jiangsu Xixin Vitamin Co., Ltd.; Jinke
  15   Group USA Inc. d/b/a Beijing Gingko Group North America; and Kyäni, Inc.
  16   respectfully request that the Court deny Plaintiff’s motion to burden shift under § 295.
  17         Moreover, Defendants should be reimbursed their attorneys’ fees for having to
  18   respond to such a frivolous motion.
  19   II.   SECTION 295: A RARELY USED PUNITIVE TOOL
  20         Section 295 is a rarely applied provision that compels an accused infringer to
  21   either “reveal [its] process or face the presumption of infringement.” Creative
  22   Compounds, LLC v. Starmark Labs., 651 F.3d 1303, 1314-15 (Fed. Cir. 2011).
  23         In Creative Compounds, for example, the patentee sought information on the
  24   accused infringer’s manufacturing process, but the accused infringer refused to
  25
  26
       1
  27     Plaintiff made clear its intent to move for summary judgment of infringement
       during a March 2021 meet and confer, as well as in email correspondence
  28   throughout April and May 2021.
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   1   produce any documents describing that process. Id. at 1315. In addition, the accused
   2   infringer there “offered no argument as to why or how the process employed to create
   3   the product does not infringe.” Id. (quotations/citations removed). Faced with a
   4   defendant who plainly refused to be forthcoming about its accused process, the
   5   Creative Compounds court concluded that § 295 was a proper penalty. See id.
   6         As shown by Creative Compounds, § 295 has a “significant punitive element”
   7   and is therefore reserved for extreme cases involving uncooperative defendants.
   8   Nutrinova Nutrition Specialties & Food Ingredients GmbH v. Int’l Trade Comm’n,
   9   224 F.3d 1356, 1360 (Fed. Cir. 2000). For instance, it applies when an accused
  10   infringer has “thwarted” a patentee’s attempts to take discovery on the accused
  11   process. Syngenta Crop Protection, LLC v. Wildwood, LLC, No. 1:15-CV-274, 2017
  12   WL 1133378, at *9, *10 (M.D.N.C. Mar. 24, 2017) (noting defendant’s failure to
  13   make production records available in discovery). It also is used when a party displays
  14   a “systematic refusal to cooperate” in discovery. Janseen Prods., L.P. v. Lupin Ltd.,
  15   No. 2:10-cv-05954 (WHW), 2014 U.S. Dist. LEXIS 1555248, at *113-14 (D.N.J.
  16   Mar. 12, 2014).
  17         On the other hand, when an accused infringer is forthcoming and complies with
  18   a patentee’s discovery requests, courts do not apply § 295. See id. at *118 (declining
  19   to apply § 295 when “it cannot be said that [defendants] have been non-cooperative
  20   defendants thwarting [the patentee’s] efforts to discover this information” and when
  21   defendants “complied with discovery in this case to the extent they have been able”);
  22   CNET Networks, Inc. v. Etilize, Inc., No. C 06-5378 MHP, 2008 U.S. Dist. LEXIS
  23   66737, at *40 (N.D. Cal. Sept. 2, 2008) (denying the application of § 295 when
  24   defendant produced source code, which allowed plaintiff “to determine the process
  25   actually used in the production of the allegedly infringing product”); Kowalski v.
  26   Mommy Gina Tuna Res., No. 05-00679 BMK, 2008 U.S. Dist. LEXIS 58357, at *4
  27   (D. Hawaii Aug. 1, 2008) (declining to apply § 295 because plaintiff had inspected
  28   several active production facilities, despite not having access to other, defunct
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   1   processing facilities); see also LG Display Co., Ltd. v. AU Optronics Corp., 709 F.
   2   Supp. 2d 311, 337 n.2 (D. Del. 2010) (declining to apply § 295, even though accused
   3   infringer did not produce documents describing the accused process, because it was
   4   not required to do so based on patentee’s discovery requests).
   5          The statute itself carries two requirements, both of which the patentee must
   6   prove by a preponderance of the evidence: “(1) that a substantial likelihood exists that
   7   the product was made by the patented process, and (2) that the plaintiff has made a
   8   reasonable effort to determine the process actually used in the production of the
   9   product and was unable to so determine.” 35 U.S.C. § 295.
  10          “Whether each of the two prongs of § 295 has been met is not determined
  11   subjectively by the plaintiff, but is determined objectively by the court.” Nutrinova,
  12   224 F.3d at 1360.
  13   III.   ARGUMENT
  14          Despite Plaintiff’s subjective unwillingness to accept the evidence Defendants
  15   have presented about the accused process, an objective view of the facts here readily
  16   demonstrates that § 295 does not apply.
  17          Indeed, applying § 295 under these facts would drastically expand this statute.
  18   One would be hard-pressed to find a situation where the burden-shifting provision
  19   would not apply if it were enforced in a situation where, as here, the accused infringer
  20   has produced documents describing the process, provided interrogatory responses
  21   doing the same, sent numerous production samples to the patentee for testing, opened
  22   its facility to an inspection by the patentee’s representatives, and offered a
  23   knowledgeable witness to sit for a three-day deposition to testify about the process.
  24          No court faced with these facts has applied § 295, and Plaintiff’s brief fails to
  25   offer a single case that comes anywhere close. Its requested relief should be denied.
  26          A.    Plaintiff Cannot Credibly Claim that It Has Been Unable to
  27                Determine the Process Used by BGG to Manufacture Tocotrienols.
  28          Section 295 plainly does not apply here, where Defendants have revealed every
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   1   detail of the accused process through every conceivable form of discovery.
   2         First, through document productions, interrogatory responses, deposition
   3   testimony, two productions of samples, and an on-site inspection, Defendants have
   4   been entirely cooperative and forthcoming about every aspect of the accused process.
   5   Second, Plaintiff’s own briefing shows that it actually does know the details of the
   6   accused process. And, third, Plaintiff has not made “reasonable efforts” to ascertain
   7   the process because it has been dilatory throughout discovery, as this Court has
   8   already recognized.
   9         For these reasons, Plaintiff has not satisfied its burden of showing that § 295
  10   applies, and its motion must be denied.
  11               1.     Defendants’ Forthcoming Behavior During Discovery Alone
  12                      Defeats Plaintiff’s Motion.
  13         Plaintiff does not and cannot dispute the following facts.
  14               •      On June 18, 2019, in their very first document production in this
  15                      litigation, Defendants produced documents describing BGG’s
  16                      process for producing annatto tocotrienol (i.e., BGG0000009-20
  17                      (Dkt. 118-1); BGG0000021-37 (Dkt. 118-2)). See Dkt. 112-15
  18                      (June 18, 2019 service email).
  19               •      On November 20, 2019, and again on June 14, 2020, Defendants
  20                      provided    detailed   responses   to   Plaintiff’s   first   set   of
  21                      interrogatories that described BGG China’s process for producing
  22                      annatto tocotrienol. Dkt. 120-2 (Nov. 2019 Interrogatory Resps.)
  23                      at 11-12, 14-17 (responses to Interrogatory Nos. 6, 7, and 10-13,
  24                      referring to BGG0000009-37); Ex. 12 (June 2020 Supplement
  25                      Responses) at 9-24 (supplemental response to Interrogatory No. 6,
  26
  27   2
        Unless otherwise noted, all references to “Ex. [#]” refer to the Declaration of Ryan
  28   Babcock, submitted concurrently with this opposition.
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 1                      describing the details of BGG’s process).
 2                •     In August and September 2020, in response to Plaintiff’s later
 3                      document requests, Defendants produced detailed batch records,
 4                      totaling nearly 1000 pages, verifying the use of the processes
 5                      described at BGG0000009-37. Ex. 2 (provided here as an
 6                      example, are the September 2017 production records for
 7                      production batch Nos. AN1709016 through AN1709029, which
 8                      show the same sequence of steps as disclosed in the production
 9                      process documents).3
10                •     On October 20, 2020, pursuant to a protocol agreed to by Plaintiff,
11                      BGG China permitted Plaintiff to conduct a four-hour on-site
12                      inspection, during a production run, of the mainland-China
13                      production facility where it manufactures annatto tocotrienols.
14                      Dkt. 101 at 5 (describing inspection protocol); see also Mem. at
15                      7-8 (describing inspection), 18 (describing what “ARN’s counsel
16                      and Dr. Rockstraw observed” during the inspection).
17                •     From November 5-7, 2020, Plaintiff deposed Dr. Yanmei Li, BGG
18                      China’s Chief Scientific Officer and the individual among all of
19                      Defendants’ witnesses most knowledgeable about the process
20                      BGG China uses. See Ex. 14 (Li Decl.) at ¶ 4.
21         Plaintiff has not provided, and indeed Defendants were unable to find, any case
22   applying § 295 when the accused infringer produced detailed documents describing
23   the process, provided detailed interrogatory responses describing that process, offered
24   a high-ranking corporate witness who testified about the details of the process at
25
26
     3
27    Defendants’ technical expert, Dr. Sean O’Keefe, explained in detail how these
     batch records verify the actual process used by BGG. See Dkt. 126-4 (O’Keefe
28   Noninfringement Rep.) at ¶¶ 124-32.
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 1   deposition, produced samples taken from the production process (on two separate
 2   occasions), and permitted an inspection of the facility during an actual production run.
 3   If § 295 applies here, it could well apply to any case involving a process patent.
 4         Fortunately, that is not the law. In reality, § 295’s burden-shifting mechanism
 5   is reserved for “non-cooperative” defendants, Nutrinova, 224 F.3d at 1360, and
 6   nothing suggests that Defendants have been uncooperative here. Nor have Defendants
 7   “thwarted” any of Plaintiff’s efforts to take discovery about the accused process (see
 8   Syngenta Crop Protection, 2017 WL 1133378, at *9, *10) or shown a “systematic
 9   refusal to cooperate in discovery” (see Janseen Prods., 2014 U.S. Dist. LEXIS
10   1555248, at *113-14).
11         Here, where “it cannot be said that [Defendants] have been non-cooperative
12   defendants thwarting [Plaintiff’s] efforts to discover this information” and where
13   Defendants have “complied with discovery in this case to the extent they have been
14   able,” § 295 cannot apply. See id. at *118. Like the accused infringer in CNET
15   Networks, Defendants here have produced documents and provided more than
16   sufficient information to allow Plaintiff “to determine the process actually used in the
17   production of the allegedly infringing product.” See 2008 U.S. Dist. LEXIS 66737, at
18   *40. Indeed, it is difficult to imagine what more Defendants could have done. The
19   information provided was sufficient to allow Plaintiff’s expert to analyze whether the
20   process infringes. Defendants’ production of descriptive documents alone should
21   settle the matter, see id., and Plaintiff’s motion must fail under these facts.
22         Defendants’ opening up their manufacturing facility for an on-site inspection
23   is also reason enough to negate § 295. See Kowalski, 2008 U.S. Dist. LEXIS 58357,
24   at *4 (declining to apply § 295 because plaintiff had inspected several active
25   production facilities). By its own admission, Plaintiff “conduct[ed] the October 2020
26   inspection of BGG’s manufacturing plant in China” and “collect[ed] and test[ed]
27   samples taken at different steps in BGG’s manufacturing process.” Mem. at 22.
28         That COVID-19-related travel restrictions prevented Plaintiff’s US attorneys
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 1   from traveling to China to personally participate in the inspection is of no moment:
 2   Plaintiff obtained the inspection it agreed to and had representatives on the ground
 3   participating on its behalf. See Mem. at 7 (“ARN’s only option was to conduct a
 4   remote inspection via videoconferencing.”). Its US counsel and technical expert were
 5   able to participate in real-time via video, as agreed. Dkt. 101 at 4 (“The Parties have
 6   agreed to conduct an in-person inspection of Defendants’ manufacturing plant located
 7   in Jiangsu, China in late October … via videoconferencing with two representatives
 8   of ARN physically present on-site….”), 5 (The inspection shall include “the ability
 9   for remote participation by ARN counsel [sic] and its related technical expert…”).
10         This inspection did not take place sooner because Plaintiff did not request it
11   sooner. Plaintiff’s representatives were permitted to see the entire process used by
12   BGG to make annatto tocotrienol, and were even able to ask questions of those
13   conducting the inspection tour that went far beyond the restrictions on questioning
14   that Plaintiff itself had agreed to before the inspection.4 See Ex. 14 (Li Decl.) at ¶¶ 14,
15   17. Plaintiff’s counsel in the U.S. and its expert were able to participate remotely.5
16
17   4
       In its request to inspect BGG’s facility, Plaintiff itself agreed that it would “ask
18   questions and engage with those conducting the inspection solely for the purpose of
     understanding what is being inspected and shall not otherwise engage in questioning
19   of the employee conducting the inspection or any production personnel.” Ex. 5 (Pl.’s
20   Notice and Request on In-Person and Remote Inspection of Defs.’ Manufacturing
     Plant) at 4; Dkt. 101 (“ARN Personnel from the IP March Law Firm shall be able to
21   ask questions and engage with those conducting the inspection solely for the
22   purpose of understanding what is being inspected and shall not otherwise engage in
     questioning of the employee conducting the inspection or any production personnel”
23   (emphasis added).). Plaintiff blatantly violated this procedure when its
24   representatives asked deposition-style questions of BGG personnel during the
     inspection.
25   5
        The parties also stipulated that during the inspection, Plaintiff’s representatives
26   would be permitted to ask questions of the personnel conducting the inspection only
27   in order to understand what was being inspected. See Ex. 5 at 4. This is because, by
     law, depositions of witnesses cannot be conducted in China. Moreover, Plaintiff
28   would have an opportunity to depose BGG personnel after the inspection. In clear
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 1         Further, even though no prior request was made, BGG provided samples taken
 2   from its production as identified by Plaintiff’s inspection team. At no time during the
 3   inspection did Plaintiff’s representatives raise any objections whatsoever to the scope
 4   of the inspection or the manner in which it was conducted. Of course, certain safety
 5   precautions needed to be observed during the inspection, and those were resolved in
 6   advance after numerous exchanges between counsel. Plaintiff itself agreed to
 7   “observe proper safety protocols during the inspection.” Dkt. 100 at 5.
 8         If Plaintiff took issue with the safety measures the production facility put in
 9   place during that inspection, Plaintiff could have asked for another inspection or
10   sought relief from the Court. Plaintiff did neither.
11         From document productions to an on-site inspection to providing samples to
12   deposition testimony, Defendants have fully cooperated with discovery, laid open all
13   aspects of the accused process, and submitted to every one of Plaintiff’s demands. If
14   there was something else Defendants could have disclosed about their accused
15   process, Plaintiff’s motion does not say. Indeed, Plaintiff never moved to compel
16   additional information, further evidencing that Defendants did all that was required
17   of them (and more) throughout discovery. Section 295 simply cannot apply here. See
18   LG Display, 709 F. Supp. 2d at 337 n.2 (D. Del. 2010) (declining to apply § 295, even
19   though accused infringer did not produce documents describing the accused process,
20   because it was not required to do so based on patentee’s discovery requests).
21         In light of Defendants’ complete transparency during discovery, Plaintiff
22
23   violation of this agreement, Plaintiff’s representatives asked questions that went far
     beyond what was necessary to understand what they were seeing. Worse still,
24   Plaintiff’s counsel prepared transcripts of the inspection and attempted to use those
25   transcripts during the deposition of Dr. Li, to which Defendants’ counsel
     appropriately objected. See Mem. at 9-10. It even used portions of one of those
26   transcripts in its briefing for this motion. See id. The conduct of Plaintiff’s counsel
27   was improper; it is a violation of both the parties’ agreement and Chinese law.
     Defendants have preserved their objections to these tactics and intend to address this
28   issue at the proper time.
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 1   cannot credibly contend that it has been unable to ascertain BGG’s process. For this
 2   reason alone, its motion under § 295 must fail.
 3                2.     Plaintiff’s Own Allegations Establish That It Is Fully Capable of
 4                       Ascertaining the Process Used by BGG.
 5         If Defendants’ discovery leaves any doubt about whether Plaintiff should have
 6   been able to ascertain the process used, the allegations in Plaintiff’s briefing (as well
 7   as its expert’s report on infringement) show that Plaintiff was fully capable of
 8   ascertaining that process.
 9         Plaintiff’s motion is self-defeating. Its own briefing repeatedly admits that it
10   knows which process BGG uses to produce annatto tocotrienol: “the April 2014
11   Production Process and March 2018 Production Process … are the only production
12   processes which Defendants claim describe their actual production process” (id. at
13   17). Thus, Plaintiff’s own words make clear that it is aware that the April 2014 and
14   March 2018 Production Process documents are the only documents Defendants state
15   contain the actual process.
16         Plaintiff’s technical expert, Dr. Rockstraw, also had no difficulty discerning
17   which process Defendants used. Indeed, he opines at length about whether the “April
18   2014 Production Process” infringes, relying on documents produced by BGG, the
19   samples provided on two separate occasions from BGG’s production process, and the
20   inspection that Dr. Rockstraw attended by video. See Dkt. 124 (Rockstraw Inf. Rep.)
21   at ¶¶ 108-14, 118-28 (discussing BGG’s process using produced documents and
22   deposition testimony), 115-16 (relying on information from the October 2020
23   inspection), 134-40 (opining on samples collected from BGG’s process). Clearly, Dr.
24   Rockstraw believed he had sufficient information about BGG’s process to perform an
25   infringement analysis. Nowhere in his report did Dr. Rockstraw state that he had
26   insufficient knowledge of Defendants’ process in order to opine on infringement.
27   Why Plaintiff believes differently is a mystery.
28         Plaintiff’s motion is also internally inconsistent. On the one hand, Plaintiff
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 1   avers that there is a “lack of reliable evidence to pinpoint the actual process used by
 2   BGG to manufacture annatto tocotrienols.” Mem. at 14. But on the other hand,
 3   Plaintiff nevertheless proclaims that “sufficient information is available to
 4   demonstrate that a substantial likelihood of infringement exists.” Id. Plaintiff cannot
 5   have it both ways.
 6         Moreover, if Plaintiff somehow believed there were “discrepancies” about the
 7   process documents Defendants produced, id. at 11, the deposition of Dr. Li and the
 8   on-site inspection should have resolved any confusion. That Plaintiff does not like the
 9   answer—that the actual, non-infringing process is not what Plaintiff claims it thought
10   it to be when it filed this lawsuit—is no reason to penalize Defendants under § 295.
11         Indeed, it is unfathomable how Plaintiff can credibly claim to be ignorant of
12   BGG’s true process after receiving documents describing that process, being
13   informed in interrogatory responses that those documents describe the process,
14   deposing a witness about the process, and seeing the process in action for itself during
15   an on-site inspection.
16         Any “contradictions and discrepancies” stem solely from Plaintiff’s refusal to
17   accept what Defendants have represented from the outset of this litigation: that BGG’s
18   true process is described at BGG0000009-20 (the April 2014 Manufacturing Process)
19   and BGG0000021-37 (the March 2018 Manufacturing Process). From their very first
20   discovery responses until now, Defendants have consistently maintained this position.
21   See Dkt. 120-2 at 11-12, 14-17 (BGG’s November 2019 responses to Plaintiff’s
22   Interrogatory Nos. 6, 7, and 10-13, referring to BGG0000009-37 as the documents
23   describing BGG’s process for producing annatto tocotrienol). That process is
24   consistent with the other evidence presented by BGG in this litigation, including
25   detailed batch records, two rounds of sample production and testing, and the on-site
26   inspection conducted by Plaintiff in October 2020.
27         Plaintiff knows this. See Mem. at 17 (referring to the April 2014 and March
28   2018 Manufacturing Processes as “the only production processes which Defendants
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 1   claim describe their actual production process”). And that knowledge should defeat
 2   Plaintiff’s motion under § 295.
 3                3.     Plaintiff Has Not Been Diligent During Discovery.
 4         Plaintiff has not, as it asserts, “diligently endeavored to ascertain the process
 5   actually used by BGG for their production of annatto tocotrienols.” Mem. at 4. The
 6   prior district judge assigned to this matter throughout fact discovery, as well as the
 7   current magistrate judge, both disagreed with that assertion: “Plaintiff did not wisely
 8   use all of the pre-pandemic discovery period” (Dkt. 96 at 1); and “[Plaintiff] could
 9   have and should have” scheduled depositions earlier (Dkt. 106 at 3).
10         Plaintiff waited to propound its first set of interrogatories on Defendants until
11   October 21, 2019—more than six months into fact discovery and over ten months
12   after the filing of the complaint. See Ex. 3 (Pl.’s First Set of Interrogatories to Defs.).
13   It failed to notice any depositions until May 28, 2020—more than a year into fact
14   discovery. See, e.g., Ex. 4 (Pl.’s Notice of Rule 30(b)(6) Deposition of BGG China).
15   And, despite raising the issue of a need for a site inspection in April 2019, see Dkt.
16   56 at 7 (“ARN and Defendants … have preliminarily discussed general frameworks
17   regarding inspection(s) of the underlying facilities, laboratories, and/or plants in
18   China….”), Plaintiff did not actually notice an inspection of the facility where the
19   accused process is carried out until September 22, 2020—eight days after the close of
20   fact discovery and more than 21 months into this case. See Ex. 5 (Pl.’s Notice and
21   Request of In-Person and Remote Inspection of Defs.’ Manufacturing Plant).
22         Indeed, more than two weeks after noticing a May 28 hearing date for its § 295
23   motion without first consulting with Defendants, and before even receiving this
24   opposition, Plaintiff demanded a 10-day extension for its reply brief. See Ex. 11.
25   Plaintiff did not articulate a reason for this extra time, nor provided any explanation
26   for what, if anything, changed in the time it filed its brief and noticed the May 28
27   hearing. See id. This is the latest in Plaintiff’s repeated efforts to delay, extend, and
28   put off adjudication of this case at every available opportunity—even with the
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 1   meritless motions it chose to file.
 2         Plaintiff’s assertions of diligence are thus belied by its actions. Indeed, rather
 3   than “diligently endeavor[ing]” to take discovery on BGG’s process, Mem. at 4,
 4   Plaintiff “did not wisely use all of the pre-pandemic discovery period.” Dkt. 96 at 1.
 5   Nevertheless, it ultimately got the inspection it requested as a result of Defendants’
 6   cooperation. Plaintiff’s motion should be denied on this basis as well.
 7                                          *****
 8         At bottom, Defendants are at a loss for what more they could have done to
 9   satisfy Plaintiff’s fabricated confusion. Defendants complied with every discovery
10   request from Plaintiff, as evidenced by Plaintiff’s never filing a motion to compel and
11   never even raising a discovery dispute that Defendants did not resolve. Plaintiff’s
12   § 295 motion does not say what more Defendants could have done.
13          “To allow such a shift [under § 295] where the accused infringers cooperate
14   and comply with discovery requests, but happen to not be in custody or control of the
15   documents sought, is not just or logical, nor does it comport with the aim and purpose
16   of the statute.” Janssen Prods., 2014 U.S. Dist. LEXIS 155248, at *119. Given the
17   extensive discovery Defendants provided, it would likewise be neither just nor logical,
18   nor would it “comport with the aim and purpose” of § 295, to shift the burden here.
19   Plaintiff’s motion has advanced no legitimate basis for its burden-shifting request,
20   and it must be denied for failing to satisfy § 295’s second prong.
21         B.     Plaintiff Has Not Shown a Substantial Likelihood that the Accused
22                Tocotrienol Product Was Made by the Patented Process.
23         Because Plaintiff has so clearly failed to satisfy the second prong of § 295, this
24   Court need not accept Plaintiff’s invitation to consider the merits of its infringement
25   claims in evaluating § 295’s first prong. Defendants expect that much of the same
26   arguments will resurface in the parties’ summary judgment briefing on the issue of
27   infringement, with opening briefs presently due May 14, 2021.
28         Nevertheless, Plaintiff cannot satisfy the first prong of § 295 either. In an
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 1   attempt to do so, Plaintiff’s brief regurgitates much of the analysis from its technical
 2   expert’s infringement report. See Mem. at 13-21. Rather than focus on whether any
 3   particular product was likely produced by an infringing process, as the plain language
 4   of § 295 requires, Plaintiff instead presents evidence of the process of which it claims
 5   to be ignorant. Plaintiff’s motion must fail for this reason.
 6         Moreover, much of Plaintiff’s analysis can easily be disposed of. Of the six
 7   “manufacturing processes” mentioned in Plaintiff’s brief, see id. at 14, only two are
 8   actually used by BGG: the so-called “April 2014 Manufacturing Process” (described
 9   at BGG0000009-20/Dkt. 118-1); and the so-called “March 2018 Manufacturing
10   Process” (described at BGG0000021-37/Dkt. 118-2). The remaining four processes
11   have never been used by any of the Defendants to produce annatto tocotrienol. Ex. 6
12   (Y. Li Dep., Vol. III) at 138:25-146:14; see also Ex. 1 (Defs.’ June 14, 2020
13   Supplement Responses to Plaintiff’s First Set of Interrogatories) at 9-24. Rather, they
14   are public-facing documents provided to BGG’s customers that deliberately do not
15   reveal the highly confidential steps of BGG’s actual process.
16         After establishing below that none of the other “processes” are those used by
17   BGG, Defendants then focus on the two processes they have actually used, which do
18   not infringe any claim of the patent-at-issue.
19                1.     The “
20                                                      ” the “September 2015 SIDI
21                       flowchart,” and the “March 2018 SIDI flowchart” do not
22                       describe any process ever used by BGG to manufacture annatto
23                       tocotrienol.
24         Plaintiff clings to its incorrect belief that the so-called “       ” and “SIDI”
25   documents accurately depict the actual process used by BGG China to manufacture
26   annatto tocotrienol. Mem. at 5. However, Defendants’ witnesses with knowledge of
27   BGG’s process have consistently explained under oath that the processes described in
28   these customer-facing documents are not accurate descriptions of BGG’s true
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 1   manufacturing process.
 2         This fact should have been made plain to Plaintiff during the deposition of BGG
 3   China’s Chief Scientific Officer, Dr. Yanmei Li. During her deposition, Dr. Li
 4   verified under oath that the only processes BGG has ever used to produce annatto
 5   tocotrienol were those described in BGG0000009-37—just as Defendants have told
 6   Plaintiff since the outset of this litigation. See Ex. 6 (Y. Li Dep., Vol. III) at 108:6-
 7   109:11; 117:11-15; 138:21-140:20; 144:11-22; see also Ex. 9 (Y. Li Dep., Vol. I) at
 8   53:15-22; Dkt. 120-2 (Nov. 2019 Interrogatory Resps.) at 11-12, 14-17 (referring to
 9   BGG0000009-37 as the process used).
10         The                and SIDI documents are simply customer-facing documents
11   that do not describe the actual process used. The purpose of those documents, which
12   are provided to BGG’s customers and to the public, is to provide information about
13   the characteristics and safety of the product, not details about how it is manufactured.
14   Indeed, Plaintiff was able to obtain one of these SIDI documents, which served as the
15   basis for the infringement allegations in its original and amended complaints. See Dkt.
16   1-2 (Compl., Ex. B); Dkt. 42-2 (Am. Compl., Ex. B). This is precisely why BGG does
17   not reveal the details of its process in these documents: they can and apparently do
18   end up in the hands of competitors.
19         One of the many documents in these packets is a single-page simplified process
20   flow chart which, as Dr. Li testified, is not exactly the same as BGG’s actual process
21   (as BGG has informed Plaintiff from the outset of this litigation). Rather, BGG China
22   carefully keeps information about its actual process secret to avoid the details falling
23   into the hands of a competitor (like Plaintiff). Ex. 6 (Li Dep., Vol. III) at 104:4-15;
24   Ex. 14 (Li Decl.) at ¶ 5 (“If the details of our process somehow got into the hands of
25   our competitors, it would be disastrous for our company.”).
26         Because BGG China has never used any of these other “processes” to produce
27   annatto tocotrienol, they cannot show evidence of a likelihood of infringement.
28
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 1                         a)       The            Documents Do Not Describe BGG
                                    China’s Actual Process.
 2
                                 documents are questionnaires required by one of BGG’s
 3
     customers                  Id. at 97:20-98:6. The vast majority of the information requested
 4
     relates to the safety and characteristics of the product. On one of these documents,
 5
                requested that BGG China simply “provide just one step of the process, the
 6
     manufacturing process. Therefore, we [BGG China] put in the
 7
              Id. at 104:1-3.
 8
 9
                                                        and BGG China did not want to disclose
10
     this trade secret to anyone outside of the company. Id. at 104:4-15; Ex. 14 (Li Decl.)
11
     at ¶ 5 (“Our process for producing annatto tocotrienol is a very closely kept trade
12
     secret. We do not reveal the details of this process to the public, including to our
13
     customers and even individuals within the company who do not need to know the
14
     details.”).
15
              Nor was an exact description of the process relevant for the purpose of this
16
     form.            was not looking to learn the details of BGG’s proprietary process; it
17
     was looking to determine whether BGG’s product was safe, and the characteristics of
18
     that product. See, e.g., Ex. 8 (Seedall Dep.) at 97:6-20 (“the [contents of customer-
19
     facing documents] that matter the most are the C of A’s [certificates of analysis] and
20
     the specification sheets. Flowcharts, designs, descriptions, verbal outlines, they don’t
21
     carry a lot of weight because they’re subject to a lot of interpretation.”). The process
22
     is only relevant to the extent any process steps used chemicals that could be harmful
23
     to consumers, and the exact order of steps is irrelevant to that inquiry. Those in the
24
     dietary supplement industry understand that these types of simplified flow diagrams
25
     are not meant to be an accurate description of the manufacturer’s process. See id.
26
              Contrary to Plaintiff’s assertion that the process flow diagrams contained
27
     within                              were “certified” (Mem. at 7), the diagrams themselves
28
                                                  - 16 -
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 1   were not signed by BGG China’s Quality Assurance Manager, nor were they
 2   specifically certified as being accurate representations of the actual process. See
 3   Mem., Ex. C (                               ) at BGG0018635; Mem., Ex. D (
 4                     ) at BGG0010118. Dr. Li explained that the blanket “certified by
 5   BGG China as true and correct” statement meant that the “document included the
 6   above-listed attachments” was true and correct—not that each attachment itself was
 7   certified. Ex. 6 (Y. Li Dep., Vol. III) at 110:7-16.
 8         Where these                documents intend to make specific certifications as to
 9   certain aspects of the product, the forms use unambiguous language (for example,
10   “We Certify That”), such as when certifying that the annatto tocotrienol product is
11   Kosher, Halal, and GMO/BSE free. See Mem., Ex. C (                                    )
12   at BGG0018638-BGG0018645; Mem., Ex. D (                                           ) at
13   BGG0010105-BGG0010115. No such certification statements accompany the
14   process flow diagrams.
15         Accordingly, no witness with knowledge of BGG’s actual manufacturing
16   process has testified that the             Forms accurately describe that process, and
17   the sole witness with first-hand knowledge of the process provided unrebutted, sworn
18   testimony to the contrary. Ex. 6 (Y. Li Dep., Vol. III) at 138:25-146:14.
19                       b)     The SIDI Documents Do Not Describe BGG China’s
                                Actual Process.
20
           “SIDI” stands for Standardized Information on Dietary Ingredients. Mem., Ex.
21
     E (September 2015 SIDI for Annatto Tocotrienols 70) at BGG0009518. As explained
22
     by Dr. Li, the purpose of a “SIDI document is for supplier qualification,” and they
23
     contain “many quality and safety statements, which is the main focus of our
24
     customers.” Ex. 6 (Y. Li Dep., Vol. III) at 142:1-21. She went on to explain that the
25
     order of steps in the process flow charts contained in these documents “is not
26
     important” because “customers mainly want to know what kind of solvent was used
27
     and what [the] effects [are] on food safety and operation. Therefore, the order is not
28
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 1   important.” Id. at 143:1-18.
 2         Additional witnesses verified that the purpose of SIDI documents is to present
 3   information on the final product, not to disclose the confidential manufacturing
 4   process. For example, Chunhua Li, the chairman of BGG China, explained that he
 5   understood that “the SIDI is a safety document. It’s a document for quality … when
 6   the customer wants to buy a product.” Ex. 7 (C. Li Dep., Vol. III) at 73:4-6; see also
 7   Ex. 8 (Seedall Dep.) at 97:6-20 (“the [contents of SIDI documents] that matter the
 8   most are the C of A’s [certificates of analysis] and the specification sheets.
 9   Flowcharts, designs, descriptions, verbal outlines, they don’t carry a lot of weight
10   because they’re subject to a lot of interpretation.”).
11         Just as with the                             the SIDI documents do not contain
12   certification statements that the process diagrams there are true and correct reflections
13   of BGG China’s actual process. Ex. 6 (Li Dep., Vol. III) at 147:10-17. And, again,
14   when these SIDI documents sought to make certain certifications related to the
15   product, they used unambiguous language, such as “We Certify That.” E.g., Mem.,
16   Ex. E (September 2015 SIDI for Annatto Tocotrienols 70) at BGG0009527,
17   BGG0009535-BGG0009545; Mem., Ex. F (March 2018 SIDI for Annatto
18   Tocotrienols 70) at 17-27.
19         BGG has good reason to keep details of its process confidential.
20
21                                                                            BGG does not
22   disclose its confidential trade secrets to others; even BGG North America employees
23   are not privy to this information. Ex. 12 (Ding Dep.) at 211:19-212:3; see also id. at
24   355:3-21 (testifying that he didn’t need to know about the process “because it’s highly
25   confidential information of the company”); Ex. 14 (Li Decl.) at ¶ 5 (“We do not reveal
26   the details of this process to the public, including to our customers and even
27   individuals within the company who do not need to know the details.”). The lead
28   inventor of the ’453 patent himself did not believe it possible to make annatto
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 1   tocotrienol using                          . Ex. 13 (Tan Dep., Vol. 1) at 139:1-140:15.
 2
 3
 4
 5   and SIDI documents are provided to BGG’s customers, potential customers, and sales
 6   staff in North America. To reveal confidential information in those documents about
 7   the process used would be “disastrous” for BGG. Id.
 8         For this reason, and consistent with industry custom, the simplified flow charts
 9   included in these documents do not reflect the exact order of steps in BGG’s process,
10   nor do customers need to know (nor do they even care about) the exact order of steps
11   used by BGG. Plaintiff’s counsel was informed when this litigation began that the
12   SIDI document attached to its original complaint was not an accurate description of
13   BGG’s process, and they were provided with much more detailed information that
14   describes the true process. Yet Plaintiff’s counsel, in deposition after deposition,
15   asked witnesses without any knowledge about BGG’s process whether they assumed
16   the SIDI documents were true and accurate descriptions of that process. Some
17   assumed they were, others said they didn’t know, but this “evidence” is completely
18   irrelevant because those witnesses have no knowledge about BGG’s actual process.
19         What is relevant is the mountain of information produced by BGG that
20   describes its true process, as well as the on-site inspection of BGG’s facility and the
21   production of samples from that process. Not a shred of evidence in the case supports
22   Plaintiff’s position that the SIDI flow chart is an accurate description of BGG’s
23   process. For Plaintiff to harp on this issue after knowing about BGG’s real process is
24   at best a misguided quest and at worst pure harassment.
25         Accordingly, the SIDI documents merely provide information about the
26   product itself, not details of the process used to make that product. They describe a
27   process that BGG China has never used and therefore cannot show a likelihood of
28   infringement under the first prong of § 295.
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 1                   2.    For the two processes actually used by BGG, Plaintiff ignores
 2                         the non-infringement evidence provided by Defendants’ expert.
 3          Plaintiff is correct that “BGG has maintained that they have at all times used
 4   essentially the same process for their production of annatto tocotrienol.” Mem. at 5.
 5   That “process,” as Plaintiff’s recognizes, is actually two processes: the so-called April
 6   2014 Manufacturing Process and the so-called March 2018 Manufacturing Process.
 7   Id. at 17.
 8          Unlike the accused infringer in Creative Compounds, who “offered no
 9   argument as to why or how the process employed to create the product does not
10   infringe,” 651 F.3d at 1315, Defendants here have provided detailed explanations for
11   why the accused process does not infringe based on this Court’s claim construction.
12          For example, Dr. O’Keefe explained in detail the reasons why Plaintiff’s expert
13   is mistaken about infringement. In particular, he explained that BGG’s process fails
14   to form a “tocotrienol composition” by “volatilizing a solvent” from a “byproduct
15   solution of Bixa orellana seed components,” as required by the patent’s claims. Dkt.
16   126-4 (O’Keefe Noninfringement Rep.) at ¶¶ 133, 281-346. As he explained, rather
17   than volatilizing (removing via evaporation) solvent from the starting material in the
18   BGG process,
19
20
21
22          Dr. O’Keefe also explained how Plaintiff and its expert failed to show how the
23   actual BGG process satisfies the Court’s construction for the term “byproduct solution
24   of Bixa orellana seed components.” Id. at ¶¶ 287, 298. He detailed the following:
25                 that the starting material used in BGG’s process is not a “solution” within
26                   the meaning of the ’453 patent and the Court’s constructions (id. at
27                   ¶¶ 289-91);
28                 that no “volatilizing” of solvent (that is, converting a solvent to a gas)
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 1                 from a “byproduct solution” occurs in the process (id. at ¶¶ 293-97);
 2              that the starting material in BGG’s process is not “derived from Bixa
 3                 orellana seed components,” along with the other requirements of the
 4                 Court’s construction for “byproduct solution” (id. at ¶¶ 298, 312-13); and
 5             
 6
 7         For at least these reasons, Plaintiff and its technical expert have not shown a
 8   likelihood of infringement by the actual BGG process. Quite the opposite: undisputed
 9   evidence relating to BGG’s process shows that it does not infringe this patent.
10         Plaintiff attempts to downplay a rebuttal experiment conducted by Defendants’
11   expert, Dr. O’Keefe, and instead focuses on a faulty, untimely experiment conducted
12   by Plaintiff’s expert, Dr. Rockstraw. See Mem. at 19-20. Dr. O’Keefe described these
13   experiments in detail in his Supplemental Rebuttal Expert Report, served on February
14   14, 2021. See Ex. 10. For example, Dr. O’Keefe explained that he conducted these
15   experiments to show that Dr. Rockstraw’s supplemental experiment (offered for the
16   first time at his deposition) contained numerous flaws, resulting in an inaccurate
17   model of the actual BGG process. Ex. 10 at ¶¶ 18-27.
18         For instance, Dr. O’Keefe explained that Dr. Rockstraw’s experiments were
19   not at all representative of BGG’s actual process because those experiments used
20   different temperatures, far more aggressive mixing conditions, different reagents, a
21   different elevation, and an entirely different type of system (                    than
22   BGG’s own process. Id. at ¶¶ 19-27.
23         Dr. O’Keefe’s experiment, on the other hand, mimicked BGG’s                      ,
24   contained key reagents missing from Dr. Rockstraw’s experiment, was maintained at
25   the appropriate temperature range and mixing speed, utilized properly calibrated
26   equipment, and was performed at an elevation that matched that of BGG’s production
27   facility. Id. at ¶¶ 28-33. Based upon his experiments, Dr. O’Keefe concluded that no
28   “solvent” is not being volatilized in BGG’s process, as required by asserted claim 1
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 1   of the patent-at-issue. Id. at ¶¶ 34-37. But however this dispute between the experts is
 2   resolved, it has nothing to do with whether § 295 applies here.
 3         Thus, Plaintiff’s case law regarding the first prong of § 295 is inapposite. For
 4   example, in West v. Jewelry Innovations, Inc., the accused infringer presented no
 5   rebuttal expert testimony to refute the patentee’s assertions of infringement. No. C
 6   07-1812 JF (HRL), 2009 WL 1010848, at *9 (N.D. Cal. Apr. 14, 2009). In addition,
 7   in West, the accused infringer “had not produced any evidence regarding the
 8   manufacturing process.” Id.
 9         This case is not even remotely similar to West. As shown by Dr. O’Keefe’s
10   non-infringement expert report (Dkt. 126-4), Defendants’ technical expert provided
11   over 150 pages of opinions explaining why Defendants do not infringe. And, as
12   explained numerous times, Defendants offered substantial evidence on every detail of
13   the accused process.
14         Accordingly, Plaintiff has not met the first prong of § 295 either. Indeed, the
15   fact that Plaintiff is able to make arguments about whether BGG’s process infringes,
16   based on information derived from BGG documents, testing of its samples, and
17   information learned during the inspection of BGG’s process in China, is fatal to
18   Plaintiff’s assertion that it was unable to obtain information relating to that process
19   (the second prong of § 295).
20         The presumption of infringement is a rarely used tool to address situations
21   where a plaintiff is unable to get information about a defendant’s process and can
22   show it is likely that the defendant is using a patented process. It simply does not
23   apply where extensive information has been produced about a defendant’s process,
24   and where the opposing experts disagree on the issue of infringement while citing the
25   very evidence in support of their infringement allegations that Plaintiff claims was
26   never provided. This is not a close case by a long shot.
27         Section 295 is clearly inapplicable here, and Plaintiff’s motion must be denied.
28
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                       DEFENDANTS’ OPPOSITION TO PLAINTIFF’S § 295 MOTION
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 1         C.     By Failing to Invoke § 295 Until Late Into this Case, Plaintiff Has
 2                Waived Its Right to this Provision.
 3         Consistent with its trend of concocting new arguments at the latest possible
 4   moment, Plaintiff waited to invoke § 295 until well after the close of fact and expert
 5   discovery. Its infringement contentions make no mention of § 295 or any presumption
 6   of infringement. By failing to amend its pleadings to include this issue, Plaintiff
 7   cannot raise it now, just prior to summary judgment briefing.
 8         “By waiting as it did, [Plaintiff] effectively prevented [Defendants] from
 9   defending against § 295 and its considerable burden shifting impact.” See Revolaze
10   LLC v. J.C. Penney Corp., No. 2:19-cv-00043-JRG, 2020 WL 2220158, at *3 (E.D.
11   Tex. May 6, 2020) (refusing to allow patentee to amend infringement contentions to
12   include § 295 theory just before the close of fact discovery).
13         Defendants have litigated this entire case and prepared a strategy and discovery
14   carefully tailored to address Plaintiff’s complete failure to meet its burden on
15   infringement. To shift that burden now would severely prejudice Defendants and
16   leave them with little ability to alter the record to accommodate a shift.
17         Plaintiff’s request should be rejected for this additional reason.
18         D.     Responses to Plaintiff’s Irrelevant Arguments
19         In keeping with what appears to be its standard practice, Plaintiff begins its
20   opening brief with a meandering, ten-page discussion of points entirely unrelated to
21   the § 295 issue before this Court. See Mem. at 1-11. For example, Plaintiff discusses
22   the supposed “novel process” described in its ’453 patent, id. at 2, Plaintiff’s history
23   of manufacturing tocotrienol, id. at 3, the evidence Plaintiff’s expert “reviewed and
24   analyzed” for his infringement report, id. at 5, various gripes about the need for
25   Plaintiff’s US counsel and technical expert to conduct the inspection of Defendants’
26   production facility remotely due to COVID-19-related travel restrictions, id. at 7-9,
27   and Dr. Li’s speaking Mandarin to Plaintiff’s on-site representatives during the
28   inspection but using English in providing a subsequent tour to Defendants’ expert, id.
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 1   at 10-11. Dr. Li’s native language is Mandarin, and the participants attending the tour
 2   in person were also Mandarin-speakers. Ex. 14 (Li Decl.) at ¶¶ 3, 10. There was
 3   nothing improper about Dr. Li’s use of her native tongue.
 4         Regardless, none of this relates to the issue at hand. Rather than bog down this
 5   opposition with detailed responses to the misstatements, half-truths, and complaints
 6   scattershot throughout Plaintiff’s “Background” section, Defendants instead remind
 7   the Court of what actually matters here: that Defendants have been fully cooperative
 8   throughout discovery, including permitting Plaintiff the inspection it wanted
 9   according to a protocol agreed upon by both sides. To be sure, Defendants’ strongly
10   disagree with all of Plaintiff’s characterizations in its “Background” section, but now
11   is not the time to address those matters.
12         At bottom, none of the whining and irrelevant assertions contained in the
13   “Background” of Plaintiff’s brief change the facts that matter (see Section III.A.1,
14   supra), and none of Plaintiff’s irrelevant discussion shows that § 295 applies here.
15   IV.   CONCLUSION
16         For the foregoing reasons, Plaintiff’s request to use § 295 to dispense with its
17   burden to prove infringement should be denied, and Defendants should be reimbursed
18   their attorneys’ fees for having to respond to Plaintiff’s baseless motion, which is
19   plainly meant to harass, delay, or otherwise obstruct Defendants’ attempts to litigate
20   the merits of this case.
21
     Respectfully submitted,                 /s/ Gary M Hnath
22
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